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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    v.

    MICHAEL T. FLYNN,                             Criminal Action No. 17-232-EGS

    Defendant.




                                [PROPOSED] ORDER

         On October 6, 2020, General Flynn filed a Motion to Recuse Judge Emmet

Sullivan, in which the defendant moved to disqualify this court under 28 U.S.C. §§

455(a), 455(b)(5)(1), and (b)(5)(i) for an appearance of bias against General Flynn

which “risk[s] [] undermining the public’s confidence in the judicial process.” In re

Al Nashiri, 921 F.3d 224, 239 (D.C. Cir. 2019).

         The defendant further requested a myriad of communication, documents, and

information in support of this motion, including:

            1) The names of all persons listening on the court’s line for the hearing on
               September 29, 2020 that were not clerks of the court;
            2) All communications by and between Beth Wilkinson and any members
               of her firm with any persons about General Flynn or this case since the
               panel of the D.C. Circuit issued the writ of mandamus;
            3) All communications between Ms. Wilkinson or any member of her firm,
               any member of Chambers, and Mr. Gleeson and any members of his firm
               about Mr. Gleeson’s role, briefing, strategy, questions, and preparation
               for the hearing regarding General Flynn;


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         4) All communications and visits with Eric Holder about this case or
             General Flynn, identification of the numbers of visits Eric Holder has
             made to Chambers about this case or General Flynn, or other personal
             meetings with Eric Holder;
         5) All communications by Emmett Sullivan about General Flynn or this
             case with anyone outside chambers since the writ of mandamus was
             filed that would evidence Emmet Sullivan’s own intent or desire to
             continue the prosecution of General Flynn; and
         6) The names of every person on the court video conference for the
             September 29, 2020 hearing, even if their cameras were disabled or not
             active.
      Having considered Defendant’s Motion to Recuse Judge Emmet Sullivan and

in light of the Government’s Motion to Dismiss with Prejudice, ECF No. 198, It is

ORDERED that the Government’s Motion to Dismiss the Criminal Information

Against the Defendant Michael T. Flynn, ECF No. 198, is hereby GRANTED and the

criminal information filed in this case is dismissed with prejudice, for the reasons

stated in that motion.

      It is further ORDERED that upon dismissal, the defendant’s Motion to Recuse

Judge Emmet Sullivan and for Other Relief is hereby GRANTED and Judge Emmet

Sullivan is hereby recused from any further proceedings in this matter. Further, all

requested communications, documents, and information shall be turned over to the

defendant instanter.


Dated: ____________________                   ______________________
                                              Emmet G. Sullivan
                                              United States District Judge




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